         Case 1:22-cv-01337-FJS-CFH Document 15 Filed 01/26/23 Page 1 of 14




                                           STATE OF NEW YORK
                                     OFFICE OF THE ATTORNEY GENERAL
     LETITIA JAMES                                                                   DIVISION OF SOCIAL JUSTICE
    ATTORNEY GENERAL                                                                       CHARITIES BUREAU

                                                                                             212.416.8391
                                                                                        Yael.Fuchs@ag.ny.gov

January 26, 2023

Via Electronic Filing
Hon. Frederick J. Scullin, Jr.
United States District Court
Federal Building and U.S. Courthouse
P.O. Box 7255
Syracuse, NY 13261-7255

                        Re:      VDARE Foundation, Inc. v. James, No. 22-cv-1337

Dear Judge Scullin:
       The Attorney General has moved to dismiss this action on several grounds, including that
(i) VDARE has not alleged a plausible First Amendment retaliation claim and that (ii) the
lawfulness of the subpoena that VDARE seeks to challenge has already been presented through a
motion to compel subpoena compliance filed in New York State Supreme Court on December
16, 2023. 1
        I write to inform this Court that the Supreme Court issued a Decision and Order fully
resolving the state action this week. See Decision and Order dated January 23, 2023, New York
v. VDARE Foundation, Inc., Index No. 453196/2022 (Sup. Ct. N.Y. Cty.) (the “Enforcement
Order”). The Supreme Court (i) denied VDARE’s request to dismiss the state action or for a stay
pending resolution of its claims here, and (ii) directed VDARE to complete production of all
outstanding material called for by the Attorney General’s subpoena on or before February 24,
2023. The Supreme Court’s analysis reviewed many of the same issues raised by the Attorney
General’s pending motion in this action and I enclose a copy of the decision as new, binding
authority for this Court’s consideration.
        VDARE asserts here, as it did in the state action, that the Attorney General issued
subpoena demands unrelated to any valid investigative interest and that the Attorney General’s
investigation intrudes on VDARE’s protected speech and associational rights. Presented with


1
          The Attorney General filed her opening brief in support of dismissal on January 18, 2023 (Dkt.
          Nos. 12 and 12-1 through 12-22). The New York Supreme Court heard oral argument of the
          Attorney General’s motion to compel subpoena compliance in the state action the following day,
          on January 19, 2023.

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       Case 1:22-cv-01337-FJS-CFH Document 15 Filed 01/26/23 Page 2 of 14

                                                      2


the same arguments and documentary record now before this Court, the Supreme Court
addressed these concerns directly and concluded that:
      New York State has a public policy interest in ensuring the robust regulation of
       tax-exempt entities like VDARE, and the Attorney General has authority to
       supervise and investigate such entities when misconduct is suspected.
       Enforcement Order, at 6.
      The Attorney General has broad and well-established authority to issue subpoenas
       in connection with a civil investigation of a non-profit’s conduct to determine
       whether to bring an enforcement proceeding. Id. at 5.
      The critical facts and events that triggered the Attorney General’s review of
       VDARE are not in dispute, and VDARE’s own filings admit many of those facts
       and underscore both the reasonableness of the Attorney General’s subpoena and
       the relevance of complete financial and transaction records to OAG review. Id. at
       7, 8.
      As the party seeking to challenge a subpoena on constitutional grounds, VDARE
       bears the initial threshold burden of demonstrating that production of the
       information sought by the subpoena would impair its constitutional rights.
       VDARE has not established why, after months of partial compliance, providing a
       redaction log of its already-produced documents and completing its production
       now raises a First Amendment concern and/or poses a threat to its existence. Id.
       at 7-8.

        The Supreme Court also specifically examined two of the cases that VDARE highlights
in its Complaint to urge its exemption from regulatory review. First, the Court determined that
the subpoena is sufficiently focused on subject matter areas that fall with the Attorney General’s
statutory oversight authority to meet the standards for lawful investigative demands outlined in
Evergreen Ass’n, Inc. v. Schneiderman, 153 A.D.3d 87 (2d Dep’t 2017). Id. at 5-6. The Court
also considered and distinguished the U.S. Supreme Court’s analysis of donor anonymity in
Americans for Prosperity v. Bonta, 141 S. Ct. 2373 (2021), noting that that decision concerned
donor disclosures in a statewide annual filing requirement and expressly endorsed the use of
subpoenas like the one at issue to obtain information for targeted investigative review. Id. at 8-9.

        The Supreme Court’s decision, reviewing the same factual record and constitutional
claims that VDARE alleges in this action, represents a final judgment that is entitled to
preclusive effect and requires dismissal of VDARE’s Complaint. Pursuant to 28 U.S.C. § 1738,
federal courts “must give to a state-court judgment the same preclusive effect as would be given
that judgment under the law of the State in which the judgment was rendered.” Migra v. Warren
City School Dist. Bd. of Education, 465 U.S. 75, 81 (1984); see Conopco, Inc. v. Roll Int’l, 231
F.3d 82, 87 (2d Cir. 2000). Under New York law, the doctrine of res judicata, or claim
preclusion, applies where: (1) the previous action involved an adjudication on the merits; (2) the
previous action involved the plaintiffs or those in privity with them; and (3) the claims asserted
in the subsequent action were, or could have been, raised in the prior action. See Monahan v.



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        Case 1:22-cv-01337-FJS-CFH Document 15 Filed 01/26/23 Page 3 of 14

                                                       3


N.Y.C. Dep’t of Corr., 214 F.3d 275, 285 (2d Cir. 2000). Each of the requirements for preclusive
effect are met here: the parties in this action are identical to those in the state proceeding, and
VDARE had, and availed itself of, the opportunity to fully litigate the propriety of the Attorney
General’s investigation in that forum. VDARE argued in the state action, exactly as it does here,
that the Attorney General’s true motive for investigation was pretextual and that insistence on
additional disclosures “threatened VDARE’s ability to conduct business.” Frisch Aff. at 3 (filed
in this action as Exhibit E to the Decl. of Yael Fuchs, at Dkt. No. 12-7). Urging the state court to
stay or dismiss review in favor of this action, VDARE itself highlighted the overlap between its
federal claims and the issues raised by the Attorney General’s motion to compel compliance:
“VDARE’s Federal Complaint is based,” it explained, “on many of the same underlying issues
raised by the OAG’s subsequent special proceeding in this Court,” including allegations that the
Attorney General’s investigative demands were “unreasonable,” “without any apparent
legitimate investigatory purpose,” and violated “settled principles of constitutional law.” See id.
at 12. The Supreme Court has now issued a decision that expressly considers and rejects each of
those arguments and fully resolves the state enforcement proceeding, and this Court must dismiss
VDARE’s federal claims on that ground. See Trump v. James, No. 21-cv-1352, 2022 WL
1718951, at *16 (N.D.N.Y May 27, 2022) (BKS, C.J.) (order in New York subpoena
enforcement proceeding that granted motion to compel was final judgment on the merits which
brought parties’ claim regarding compliance with subpoena “to a final conclusion” and was
entitled to preclusive effect in Section 1983 action seeking to enjoin further investigation). See
also Gherardi v. State of New York, 161 Fed. Appx. 60 (2d Cir. 2005) (affirming dismissal of
constitutional challenge to property use legislation in federal court on res judicata grounds where
prior state action asserting identical challenge had been dismissed on the merits).
        For all of the reasons highlighted in the Enforcement Order and in the Attorney General’s
briefing in support of its motion to dismiss, this Court should dismiss VDARE’s claims in their
entirety.
                                                            Respectfully submitted,

                                                            /s/ Yael Fuchs

                                                            Assistant Attorney General

Encl.

cc:     Counsel of Record (via ECF)




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FILED: NEW YORK COUNTY CLERK 01/25/2023 10:53 AM                                                                 INDEX NO. 453196/2022
NYSCEF DOC. NO. Case
                 62 1:22-cv-01337-FJS-CFH Document 15 Filed 01/26/23 RECEIVED
                                                                      Page 4 ofNYSCEF:
                                                                                14     01/23/2023



                                 SUPREME COURT OF THE STATE OF NEW YORK
                                           NEW YORK COUNTY
          PRESENT:             HON. SABRINA KRAUS                                              PART                        57TR
                                                                                    Justice
          ---------------------------------------------------------------------------------X   INDEX NO.         453196/2022
           PEOPLE OF THE STATE OF NEW YORK, BY LETITIA
           JAMES, ATTORNEY GENERAL OF THE STATE OF NEW                                         MOTION DATE        1/19/2023
           YORK
                                                                                               MOTION SEQ. NO.     001 002
                                                       Plaintiff,

                                               -v-
                                                                                                 DECISION + ORDER ON
           VDARE FOUNDATION, INC.,                                                                     MOTION

                                                       Defendant.
          ---------------------------------------------------------------------------------X

          The following e-filed documents, listed by NYSCEF document number (Motion 001) 2, 33, 53, 56, 57, 59,
          60, 61
          were read on this motion to/for                                                      ENFORCEMENT                      .

          The following e-filed documents, listed by NYSCEF document number (Motion 002) 36, 37, 38, 39, 40,
          41, 42, 43, 44, 45, 46, 47, 48, 49, 50, 51, 52, 54, 55, 58
          were read on this motion to/for                                                       DISMISSAL                       .




                                                    BACKGROUND

                    Petitioner commenced this special proceeding to compel compliance with a subpoena

         duces tecum dated June 23, 2022 (the “Subpoena”) issued in conjunction with an investigation

         into the activities of Respondent, a not-for-profit corporation.

                                                    ALLEGED FACTS

                    Respondent is a New York charitable not-for-profit corporation that incorporated in New

         York in 1999. In 2000, Respondent, then known as, the Lexington Research Institute, Limited,

         applied for and received recognition of its tax-exempt status from the IRS as a 501(c)(3)

         charitable entity. Respondent did not register with the Attorney General’s office until 2009.



           453196/2022 PEOPLE OF THE STATE OF NEW YORK, BY LETITIA JAMES, ATTORNEY                               Page 1 of 11
           GENERAL OF THE STATE OF NEW YORK vs. VDARE FOUNDATION, INC.
           Motion No. 001 002


                                                                        1 of 11
FILED: NEW YORK COUNTY CLERK 01/25/2023 10:53 AM                                              INDEX NO. 453196/2022
NYSCEF DOC. NO. Case
                 62 1:22-cv-01337-FJS-CFH Document 15 Filed 01/26/23 RECEIVED
                                                                      Page 5 ofNYSCEF:
                                                                                14     01/23/2023




                In its application for federal tax-exempt status, Respondent stated its plan to operate from

         offices in New York and listed two of its four directors at addresses in New York City.

         Respondent described its primary purpose as creating a publication web page and magazine, with

         editorial content focusing on foreign and domestic policy issues.

                In 2019, Respondent reported a six-fold increase in revenue, from $700,000 in 2018 to

         approximately $4.3 million in 2019 and including a $1.5 million lump donation from a donor-

         advised fund. In early 2020, Respondent spent $1.4 million of these newly received funds on the

         purchase of the Berkeley Springs Castle, a medieval-style castle located in West Virginia.

                Public postings by Respondent Chairman Peter Brimelow and others indicate that he and

         his family have used the castle as their primary residence since at least March 2020. During this

         same period, Respondent also substantially increased payments to Brimelow and to third-party,

         for-profit companies he controls. In 2019, Brimelow’s reported salary more than doubled and

         comprised roughly one third of Respondent’s operating expenditures. Respondent separately

         reported spending tens of thousands of dollars on office expenses in 2019, as well as paying

         hundreds of thousands of dollars to a third-party LLC controlled by Brimelow that was based at

         Brimelow’s residential home address.

                In December 2020, Respondent conveyed the entirety of the Berkeley Springs Castle

         property to two West Virginia corporations incorporated by Lydia Brimelow, Peter’s wife and a

         Respondent director, five months earlier. Respondent conveyed the castle itself and the land that

         it sits on to the Berkeley Castle Foundation (BCF), a non-profit corporation. Respondent

         conveyed the remaining land, consisting of eight parcels, to BBB, LLC, a for-profit corporation.

                Based on the information it had obtained, the Attorney General began an investigation of

         Respondent and its leadership for potential violations of the New York law applicable to


          453196/2022 PEOPLE OF THE STATE OF NEW YORK, BY LETITIA JAMES, ATTORNEY             Page 2 of 11
          GENERAL OF THE STATE OF NEW YORK vs. VDARE FOUNDATION, INC.
          Motion No. 001 002


                                                      2 of 11
FILED: NEW YORK COUNTY CLERK 01/25/2023 10:53 AM                                             INDEX NO. 453196/2022
NYSCEF DOC. NO. Case
                 62 1:22-cv-01337-FJS-CFH Document 15 Filed 01/26/23 RECEIVED
                                                                      Page 6 ofNYSCEF:
                                                                                14     01/23/2023




         charities. The Subpoena seeks: documents concerning Respondent’s organizational structure;

         compliance conflict-of-interest policy requirements under New York law, and financial

         operations; its purchase and conveyance of the Berkeley Springs Castle; and transactions

         between Respondent and entities controlled by the Brimelows.

                Respondent originally took the position that the Subpoena was unlawful and should be

         withdrawn. On September 19, 2022, new counsel for Respondent agreed to comply with the

         Subpoena but asserted that a significant volume of electronically-stored and hard copy

         documents needed to be reviewed. Respondent made its first production that day consisting of 27

         documents produced without Bates numbers and bearing unmarked redactions. No log was

         provided to identify or explain the redactions.

                In the twelve weeks since its first September delivery, Respondent has produced

         approximately 6,000 pages from its hard copy records. It has redacted that material without any

         explanation for how material was chosen for redaction. Petitioner assets that the redactions are

         extensive and have been applied across almost every category of document produced, including

         board meeting minutes, bank statements, internal accounting ledgers, credit card statements,

         invoices, financial records for the limited liability company (Happy Penguins LLC) from which

         Respondent has historically leased Peter Brimelow’s services, and bank statements to accounts

         held personally by Peter and Lydia Brimelow.

                 On October 31, 2022, Lydia Brimelow represented that, with limited exceptions,

         Respondent’s hard copy production was complete, and identified 22 unique email accounts

         containing approximately 40 gigabytes of potentially responsive electronically stored

         information. Respondent’s counsel stated that review of that material would be completed by




          453196/2022 PEOPLE OF THE STATE OF NEW YORK, BY LETITIA JAMES, ATTORNEY            Page 3 of 11
          GENERAL OF THE STATE OF NEW YORK vs. VDARE FOUNDATION, INC.
          Motion No. 001 002


                                                      3 of 11
FILED: NEW YORK COUNTY CLERK 01/25/2023 10:53 AM                                                            INDEX NO. 453196/2022
NYSCEF DOC. NO. Case
                 62 1:22-cv-01337-FJS-CFH Document 15 Filed 01/26/23 RECEIVED
                                                                      Page 7 ofNYSCEF:
                                                                                14     01/23/2023




         November 21, 2022. Respondent subsequently proposed December 12, 2022, as a new deadline

         for completing email production.

                    On December 2, 2022, Petitioner wrote to Respondent, summarizing its concerns with

         the pace and scope of the production, including its extensive redactions, and demanded that

         Respondent complete its subpoena compliance and produce a redaction log by December 12,

         2022.

                   On December 12, 2022, Respondent filed an action in United States District Court for the

         Northern District of New York against Petitioner [VDARE Foundation, Inc. v. James, 1:22-cv-

         01337 (FJS)], alleging, among other things, that Petitioner’s demands for certain disclosures

         threaten Respondent’s ability to conduct business; and that Petitioner’s subpoena is a retaliatory

         pretext aimed at interfering with Respondent’s rights to freedom of speech and association. The

         federal complaint seeks a declaration that Subpoena violates Respondent’s first amendment

         rights, an injunction preventing Petitioner’s enforcement of the Subpoena and damages.

                   On December 16, 2022, Petitioner commenced this special proceeding.

                                   PENDING APPLICATIONS FOR RELIEF

                   Petitioner seeks an order compelling Respondent to comply with the investigative

         Subpoena duces tecum dated June 23, 2022.

                   Respondent has moved for an order dismissing this proceeding, or alternatively staying

         the proceeding pending resolution of the Federal Action.1

                   On January 19, 2023, the court heard oral argument on the motions and reserved

         decision. For the reasons stated below, Petitioner’s motion to compel is granted and

         Respondent’s motion for a stay or dismissal is denied.


         1
          At argument Respondent withdrew its request for dismissal and limited its request to a stay pending the Federal
         Court litigation.
             453196/2022 PEOPLE OF THE STATE OF NEW YORK, BY LETITIA JAMES, ATTORNEY                       Page 4 of 11
             GENERAL OF THE STATE OF NEW YORK vs. VDARE FOUNDATION, INC.
             Motion No. 001 002


                                                             4 of 11
FILED: NEW YORK COUNTY CLERK 01/25/2023 10:53 AM                                                INDEX NO. 453196/2022
NYSCEF DOC. NO. Case
                 62 1:22-cv-01337-FJS-CFH Document 15 Filed 01/26/23 RECEIVED
                                                                      Page 8 ofNYSCEF:
                                                                                14     01/23/2023




                                                DISCUSSION

                 The requirements for the issuance of an investigatory subpoena duces tecum are “(1) that
         the issuing agency has authority to engage in the investigation and issue the subpoena, (2) that
         there is an authentic factual basis to warrant the investigation, and (3) that the evidence sought is
         reasonably related to the subject of the inquiry” (Matter of Abrams v. Thruway Food Market &
         Shopping Center, Inc., 147 A.D.2d 143, 147, 541 N.Y.S.2d 856; citing Matter of Levin v.
         Murawski, 59 N.Y.2d 35, 462 N.Y.S.2d 836, 449 N.E.2d 730, and Matter of A'Hearn v.
         Committee on Unlawful Practice of Law of N.Y. County Lawyers' Assn., 23 N.Y.2d 916, 298
         N.Y.S.2d 315, 246 N.E.2d 166).

         Evergreen Ass'n, Inc. v. Schneiderman, 153 A.D.3d 87, 96 (2017).

                The Attorney General has broad and well-established authority to issue subpoenas in

         connection with a civil investigation of a non-profit’s conduct to determine whether to bring an

         enforcement proceeding. Exec. Law §§ 63(12), 175; N-PCL § 112; EPTL § 8-1.4(m). See also

         Temple of the Lost Sheep, 148 Misc. 2d at 828–29. “Moreover, in evaluating the Attorney

         General's justification for the issuance of a subpoena, there is a presumption that (s)he is acting

         in good faith” (Matter of Dental Coop. v. Attorney–General of State of N.Y., 127 A.D.2d 274,

         280; see Matter of Abrams v. Thruway Food Market & Shopping Center, Inc., 147 A.D.2d at

         147). The party challenging a subpoena issued by the Attorney General bears the burden of

         establishing the subpoena’s invalidity. Id. at 828

                CPLR §2308(b) provides “… if a person fails to comply with a subpoena which is not

         returnable in a court, the issuer or the person on whose behalf the subpoena was issued may

         move in the supreme court to compel compliance. If the court finds that the subpoena was

         authorized, it shall order compliance and may impose costs not exceeding fifty dollars.”

                In evaluating the propriety of an investigative subpoena, New York courts apply a

         deferential standard of review: it is presumed that the Attorney General acts in good faith. Ryan

          453196/2022 PEOPLE OF THE STATE OF NEW YORK, BY LETITIA JAMES, ATTORNEY               Page 5 of 11
          GENERAL OF THE STATE OF NEW YORK vs. VDARE FOUNDATION, INC.
          Motion No. 001 002


                                                       5 of 11
FILED: NEW YORK COUNTY CLERK 01/25/2023 10:53 AM                                                INDEX NO. 453196/2022
NYSCEF DOC. NO. Case
                 62 1:22-cv-01337-FJS-CFH Document 15 Filed 01/26/23 RECEIVED
                                                                      Page 9 ofNYSCEF:
                                                                                14     01/23/2023




         v. Lefkowitz, 18 N.Y.2d 977, 979 (1966); Hogan v. Cuomo, 67 A.D.3d 1144, 1145 (3d Dep’t

         2009); Anheuser-Busch. Inc. v. Abrams, 71 N.Y.2d 327, 332 (1988)), aff’d 205 A.D.3d 625

         (2022).

                   Petitioner’s subpoena request must demonstrate a “reasonable relationship to the subject

         matter under investigation and the public interest to be served.” Giardina v. James, 185 A.D.3d

         451 (1st Dep’t 2020). A party must respond to an investigative subpoena unless the information

         sought is “utterly irrelevant to any proper inquiry.” Anheuser-Busch, Inc. v. Abrams, 71 N.Y.2d

         327, 331–32 (1988).

                   New York State has a public policy interest in ensuring the robust regulation of tax-

         exempt charitable entities like Respondent and Petitioner has authority to supervise and

         investigate such entities when misconduct is suspected.

                   Petitioner’s Subpoena is focused on subject matter areas which fall within the statutory

         provisions that govern not-for-profit corporations. The Not-for-Profit Corporation Law, for

         example, provides that entities like Respondent may be formed only for charitable purposes, see,

         e.g., N-PCL §§ 202, 204, 205, and that charitable assets may not be distributed to members,

         directors or officers, N-PCL § 515(a). Charitable entities are also subject to express requirements

         under the N-PCL for lawful operation, including requirements for a process by which

         compensation is set (N-PCL § 515(b)); processes for acquisition and “sale or other disposition”

         of property (N-PCL §§ 509, 510, 511 and 511-a); creating and presenting complete and accurate

         financial reports (N-PCL §§ 519, 520); a process for considering related party transactions (N-

         PCL § 715); and a process for managing conflicts of interest. (N-PCL § 715-a).

                   The Subpoena’s requests demand the type of material that will permit Petitioner to

         determine whether Respondent has complied with these requirements, including complete copies


          453196/2022 PEOPLE OF THE STATE OF NEW YORK, BY LETITIA JAMES, ATTORNEY               Page 6 of 11
          GENERAL OF THE STATE OF NEW YORK vs. VDARE FOUNDATION, INC.
          Motion No. 001 002


                                                        6 of 11
FILED: NEW YORK COUNTY CLERK 01/25/2023 10:53 AM                                                INDEX NO. 453196/2022
NYSCEF DOC. NO.Case
                62 1:22-cv-01337-FJS-CFH Document 15 Filed 01/26/23 RECEIVED
                                                                    Page 10 ofNYSCEF:
                                                                               14     01/23/2023




         of Respondent’s annual regulatory filings, financial transaction records, compensation records,

         and records of Board meetings and review. The documents called for will permit Petitioner to

         determine whether there has been any diversion of charitable assets—for example through

         unlawful payments to for-profit corporations held by the Brimelows or other VDARE

         fiduciaries. Article 7-A of the Executive Law authorizes the Attorney General to supervise

         charitable organizations that solicit in New York, and Article 7-A requires the Attorney General

         to monitor such organizations to ensure that, inter alia, a charity does not solicit contributions

         under false pretenses or use the contributions it receives in a manner that is not “substantially

         consistent” with the charity’s stated purposes. See generally Executive Law § 172-d.

                Respondent has raised constitutional objections related to the First Amendment and

         therefore had the initial threshold burden to make a showing that production of the information

         sought would impair its First Amendment rights (see Matter of Full Gospel Tabernacle v.

         Attorney–General of State of N.Y., 142 A.D.2d 489, 493, 536 N.Y.S.2d 201; St. German of

         Alaska E. Orthodox Catholic Church v. United States, 653 F.Supp. 1342, 1346–1347

         [S.D.N.Y.]; see also Matter of Grand Jury Subpoenas for Locals 17, 135, 257 & 608 of United

         Bhd. of Carpenters & Joiners of Am., AFL–CIO, 72 N.Y.2d 307, 532 N.Y.S.2d 722, 528 N.E.2d

         1195). However, Respondent makes this argument on behalf of its donors and Petitioner has

         agreed, initially to redact donors’ and volunteers’ identities. Respondent has not established that

         the Subpoena would impair Respondent’s own First Amendment rights.

                Additionally, Respondent’s filings themselves underscore the reasonableness of the

         Subpoena. Respondent admits the critical facts that first triggered Petitioner’s scrutiny— Peter

         Brimelow, Respondent’s founder and director, and his wife, Lydia Brimelow, also a director,




          453196/2022 PEOPLE OF THE STATE OF NEW YORK, BY LETITIA JAMES, ATTORNEY               Page 7 of 11
          GENERAL OF THE STATE OF NEW YORK vs. VDARE FOUNDATION, INC.
          Motion No. 001 002


                                                       7 of 11
FILED: NEW YORK COUNTY CLERK 01/25/2023 10:53 AM                                               INDEX NO. 453196/2022
NYSCEF DOC. NO.Case
                62 1:22-cv-01337-FJS-CFH Document 15 Filed 01/26/23 RECEIVED
                                                                    Page 11 ofNYSCEF:
                                                                               14     01/23/2023




         used and continue to use a $1.4 million charitable asset as their personal residence. See Frisch

         Aff. (Doc. No. 37).

                Respondent argues that the Brimelows paid rent to live in the cottage beginning in April

         2021, however the lease is between Lydia Brimelow and BBB, LLC, a West-Virginia for-profit

         corporation she manages, and Lydia Brimelow signed the document as both landlord and tenant.

         Frisch Aff. Ex. H (Doc. No. 45); Fuchs Aff. Ex. L (BBB, LLC registration showing Lydia

         Brimelow as manager).

                Respondent’s motion and accompanying papers fail to meet its burden of establishing the

         Subpoena’s invalidity. Respondent, which has partially complied with the subpoena for months,

         has not established why providing a redaction log for its already-produced documents raises any

         First Amendment concerns or why continuing production would pose a threat to its existence.

                Although Respondent argues that redactions are required to protect the identities of

         contractors—including writers who contribute to the website—these are precisely the records the

         Petitioner seeks to examine in its investigation of Respondent’s alleged organizational

         misconduct. To the extent anonymity is used to mask violations of the law, “it is unprotected by

         the First Amendment.” Arista Recs., LLC v. Doe 3, 604 F.3d 110, 118 (2d Cir. 2010).

                For example, the only board member among four who is not a Brimelow family member

         is a known contributor. The Attorney General may probe this contributor’s compensation as part

         of its investigation of conflicts of interest and board independence. And the Attorney General

         may seek the identities of other contributors to determine whether further conflicts of interest

         may exist.

                Respondent’s reliance on Americans for Prosperity v. Bonta, 141 S.Ct. 2373 (2021), is

         equally unavailing. That decision concerned only donor disclosures in statewide annual filing


          453196/2022 PEOPLE OF THE STATE OF NEW YORK, BY LETITIA JAMES, ATTORNEY              Page 8 of 11
          GENERAL OF THE STATE OF NEW YORK vs. VDARE FOUNDATION, INC.
          Motion No. 001 002


                                                      8 of 11
FILED: NEW YORK COUNTY CLERK 01/25/2023 10:53 AM                                                 INDEX NO. 453196/2022
NYSCEF DOC. NO.Case
                62 1:22-cv-01337-FJS-CFH Document 15 Filed 01/26/23 RECEIVED
                                                                    Page 12 ofNYSCEF:
                                                                               14     01/23/2023




         requirements, while expressly permitting subpoenas seeking the same information as part of a

         targeted investigation. See Ams. for Prosperity Found., 141 S. Ct. at 2386–87. Moreover,

         Petitioner has indicated a willingness to enter into a stipulation /order of confidentiality to further

         address any of Respondent’s concerns.

                Finally, Respondent presents no compelling basis for a stay of this proceeding in its

         moving papers, and acknowledged at oral argument it has not sought a stay of this proceeding

         from the Federal District Court.

                Based on the foregoing, Respondent’s motion for a stay is denied and Petitioner’s motion

         to compel is granted.

                WHEREFORE it is hereby:

                ORDERED Respondent VDARE Foundation, Inc. (“VDARE”) shall comply with the

         Subpoena, subject to the agreement of July 27, 2022, memorialized in Exhibit R to the

         Affirmation of Yael Fuchs at Dkt. No. 22, that VDARE may redact the following from

         otherwise responsive material: (i) the names of any actual or anticipated private (nonVDARE)

         attendees present at VDARE events conducted at or broadcast from the 276

         Cacapon Road, Berkley Springs, West Virginia Property; and (ii) donor-identifying

         information in any responsive record of private contributions to the organization and/or

         purchases from the October 16, 2021 “Castle Auction” (transaction amounts, dates, and

         other details must be disclosed); and it is further

                ORDERED that such redactions are without prejudice to Petitioner’s right to seek

         modification of these agreed redaction terms by written application to the Court on notice to

         VDARE; and it is further




          453196/2022 PEOPLE OF THE STATE OF NEW YORK, BY LETITIA JAMES, ATTORNEY                Page 9 of 11
          GENERAL OF THE STATE OF NEW YORK vs. VDARE FOUNDATION, INC.
          Motion No. 001 002


                                                       9 of 11
FILED: NEW YORK COUNTY CLERK 01/25/2023 10:53 AM                                                INDEX NO. 453196/2022
NYSCEF DOC. NO.Case
                62 1:22-cv-01337-FJS-CFH Document 15 Filed 01/26/23 RECEIVED
                                                                    Page 13 ofNYSCEF:
                                                                               14     01/23/2023




                 ORDERED that on or before February 10, 2023, VDARE shall re-produce all hard copy

         documents previously produced to Petitioner, in a revised form that bears only those

         redactions outlined in the preceding paragraph or any additional redaction identified by

         VDARE in a written log that complies with the requirements of CPLR 3122(b); this

         production shall be accompanied by simultaneous delivery of the corresponding CPLR

         3122(b) log; and it is further

                 ORDERED that on or before February 24, 2023, VDARE shall complete production of

         all responsive material contained in the universe of electronic files identified by its October 31,

         2022 letter (Dkt. No. 26); on or before February 24, 2023, VDARE shall provide a written

         log that complies with the requirements of CPLR 3122(b) to identify the redactions, if any,

         applied to such production; and it is further

                 ORDERED that the parties, if so advised, may forthwith enter into a Stipulation for the

         Production of Confidential Information pursuant to this order and submit said stipulation to be

         so-ordered by the court; and it is further

                 ORDERED that, within 20 days from entry of this order, Petitioner shall serve a copy of

         this order with notice of entry on the Clerk of the General Clerk’s Office (60 Centre Street, Room

         119); and it is further

                 ORDERED that such service upon the Clerk shall be made in accordance with the

         procedures set forth in the Protocol on Courthouse and County Clerk Procedures for

         Electronically Filed Cases (accessible at the “E-Filing” page on the court’s website at the address

         www.nycourts.gov/supctmanh);]; and it is further

                 ORDERED that any relief not expressly addressed has nonetheless been considered and

         is hereby denied; and it is further


          453196/2022 PEOPLE OF THE STATE OF NEW YORK, BY LETITIA JAMES, ATTORNEY              Page 10 of 11
          GENERAL OF THE STATE OF NEW YORK vs. VDARE FOUNDATION, INC.
          Motion No. 001 002


                                                         10 of 11
FILED: NEW YORK COUNTY CLERK 01/25/2023 10:53 AM                                             INDEX NO. 453196/2022
NYSCEF DOC. NO.Case
                62 1:22-cv-01337-FJS-CFH Document 15 Filed 01/26/23 RECEIVED
                                                                    Page 14 ofNYSCEF:
                                                                               14     01/23/2023




                 ORDERED that this constitutes the decision and order of this court.




                 1/23/2023
                   DATE                                                      SABRINA KRAUS, J.S.C.
          CHECK ONE:              X   CASE DISPOSED                  NON-FINAL DISPOSITION

                                  X   GRANTED             DENIED     GRANTED IN PART            OTHER

          APPLICATION:                SETTLE ORDER                   SUBMIT ORDER

          CHECK IF APPROPRIATE:       INCLUDES TRANSFER/REASSIGN     FIDUCIARY APPOINTMENT      REFERENCE




          453196/2022 PEOPLE OF THE STATE OF NEW YORK, BY LETITIA JAMES, ATTORNEY            Page 11 of 11
          GENERAL OF THE STATE OF NEW YORK vs. VDARE FOUNDATION, INC.
          Motion No. 001 002


                                                      11 of 11
